     Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 1 of 6



                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                  )
JUDY FOSTER,                      )
                                  )
         Plaintiff,               )
     v.                           ) Case No.:
                                  )
                                  )
CHW GROUP, INC. d/b/a CHOICE HOME )
WARRANTY,                         )
                                  )
         Defendant.               )
                                  )

                                 PLAINTIFF’S COMPLAINT

      Plaintiff, JUDY FOSTER (“Plaintiff”), by and through her attorneys, Agruss Law Firm,

LLC, alleges the following against Defendant, CHW GROUP, INC. d/b/a CHOICE HOME

WARRANTY (“Defendant”):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47 U.S.C.

      § 227, et seq. (“TCPA”).

                               JURISDICTION AND VENUE

   2. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337.

   3. This court has federal question jurisdiction because this case arises out of violations of

      federal law. 47 U.S.C. § 227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   4. Venue and personal jurisdiction in this District are proper because Defendant does or

      transacts business within this District, and a material portion of the events at issue occurred

      in this District.




                                                1
  Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 2 of 6



                                          PARTIES

5. Plaintiff is a natural person residing in the City of Muldoon, Fayette County, State of

   Texas.

6. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

   153(39).

7. Defendant is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

   153(39).

8. Defendant is a New Jersey business corporation based in the Township of Edison,

   Middlesex County, State of New Jersey.

9. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

10. Within four (4) years of Plaintiff filing this Complaint, in or around June 2018, Defendant

   began calling Plaintiff’s cellular telephone at xxx-xxx-1769, which included or introduced

   an advertisement or constituted telemarketing.

11. Defendant calls Plaintiff’s cellular telephone from several telephone numbers, including,

   732-898-3609, which is one of the Defendant’s telephone numbers.

12. During the month of June 2018, Plaintiff answered at least one call placed by Defendant

   to Plaintiff.

13. During the aforementioned call, Plaintiff told Defendant to stop calling her and take her

   number off of Defendant’s call list.

14. Despite Plaintiff’s request that Defendant stop calling Plaintiff on her cellular telephone,

   Defendant continued to call Plaintiff’s cellular telephone.



                                             2
  Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 3 of 6



15. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

16. None of the calls Defendant made to Plaintiff were for an emergency purpose.

17. All of the calls Defendants made to Plaintiff’s cellular telephone resulted in Plaintiff

   incurring a charge for incoming calls.

18. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

19. Plaintiff has never given to Defendant prior express written consent to contact Plaintiff as

   described herein.

20. Even if Plaintiff provided Defendant with her cellular telephone number, Defendant failed

   to provide Plaintiff with clear and conspicuous disclosure that Defendant would contact

   Plaintiff with an automatic telephone dialing system (“ATDS”).

21. Even if at one point Defendant had prior express written consent to call Plaintiff’s cellular

   telephone, Plaintiff revoked this consent as described above.

22. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

   wanted the calls to stop.

23. Within four (4) years of Plaintiff filing this Complaint, Defendant used an ATDS to call

   Plaintiff’s cellular telephone.

24. When Plaintiff answered Defendant’s calls, she was sometimes greeted with “dead air”

   whereby no person was on the other end of the line. After several seconds, an agent was

   connected to the automated call then greeted Plaintiff and sought to speak with Plaintiff

   attempting to solicit the sale of a home warranty.

25. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the



                                              3
  Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 4 of 6



   capacity to store telephone numbers.

26. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers automatically.

27. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers without human intervention.

28. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

29. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

30. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

31. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

   simultaneously calls multiple recipients.

32. The dead air that the Plaintiff may have experienced on the calls that she received is

   indicative of the use of an ATDS. This “dead air” is commonplace with autodialing and/or

   predictive dialing equipment. It indicates and evidences that the algorithm(s) being used

   by Defendant’s autodialing equipment to predict when the live human agents are available

   for the next call has not been perfected and/or has not been recently refreshed or updated.

   Thus, resulting in the autodialer placing a call several seconds prior to the human agent’s

   ability to end the current call he or she is on and be ready to accept the new connected call

   that the autodialer placed, without human intervention, to Plaintiff. The dead air is

   essentially the autodialer holding the calls it placed to Plaintiff until the next available

   human agent is ready to accept them. Should the calls at issue been manually dialed by a



                                               4
      Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 5 of 6



      live human being, there would be no such dead air as the person dialing Plaintiff’s cellular

      telephone would have been on the other end of the call the entire time and Plaintiff would

      have been immediately greeted by said person.

   33. As a result of Defendant’s alleged violations of law by placing these automated calls to

      Plaintiff’s cellular telephone without prior express written consent, Defendant caused

      Plaintiff harm and/or injury such that Article III standing is satisfied in at least the

      following, if not more, ways:

             a. Invading Plaintiff’s privacy;
             b. Electronically intruding upon Plaintiff’s seclusion;
             c. Intrusion into Plaintiff’s use and enjoyment of her cellular telephone;
             d. Impermissibly occupying minutes, data, availability to answer another call, and
                various other intangible rights that Plaintiff has as to complete ownership and use
                of her cellular telephone; and
             e. Causing Plaintiff to expend needless time in receiving, answering, and
                attempting to dispose of Defendant’s unwanted calls.

  DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   34. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, JUDY FOSTER, respectfully requests judgment be entered

against Defendant, CHW GROUP, INC. d/b/a CHOICE HOME WARRANTY for the following:

   35. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff is entitled

      to and requests $500 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. § 227(b)(3)(B).

   36. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500, for


                                                 5
      Case 4:18-cv-04125 Document 1 Filed in TXSD on 10/30/18 Page 6 of 6



      each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

      § 227(b)(3)(C).

   37. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   38. Any other relief that this Honorable Court deems appropriate.

DATED: October 30, 2018

                                      Respectfully submitted,
                                      AGRUSS LAW FIRM, LLC

                              By: /s/ James J. Parr
                                     Michael S. Agruss, ARDC No. 6317921
                                     4809 N. Ravenswood Avenue, Suite 419
                                     Chicago, IL 60640
                                     312-224-4695 – office
                                     312-253-4451 – facsimile
                                     james@agrusslawfirm.com
                                     Attorneys for Plaintiff




                                                  6
